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                         UNITED STATES DISTRICT COURT
                            DISTRICT OF MINNESOTA


Lowell P. Burris and Joyce P. Burris,                Civil No.: 07-3938 JRT/JJK

                                   Plaintiffs,

v.                                                   PLAINTIFFS’ NOTICE OF MOTION
                                                     TO COMPEL DISCOVERY SERVED
Gulf Underwriters Insurance Company,                 UPON DEFENDANTS
Versa Products, Inc., and G and L Products,
Inc.

                                 Defendants.


       Plaintiffs, Lowell P. Burris and Joyce P. Burris, requests the Court, pursuant to

Rule 37(a) of the Federal Rules of Civil Procedure, and Rule 7.1(a) of the Local Rules of

the United States District Court for the District of Minnesota, for the entry to compel

discovery served upon Defendants Gulf Underwriters Insurance Company and Versa

Products, Inc. for sufficient and adequate answers to Plaintiffs’ interrogatories and

responses to Plaintiffs’ document requests. Said Motion is scheduled to be heard on the

6th day of February, 2013, at 2:00 p.m., or as soon as counsel may be heard, before the

Honorable Jeffrey J. Keyes, at the United States District Court, 646 Warren E. Burger

Federal Courthouse, 316 N. Robert Street, St. Paul, Minnesota.

       Plaintiffs’ certify that they have in good faith conferred or attempted to confer

with the named Defendants in an effort to obtain sufficient and adequate answers and

responses to Plaintiffs’ discovery without court action.




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       In support of this request, Lowell P. Burris and Joyce P. Burris rely upon the

record in this case and the affidavits submitted herewith.



Dated: January 23, 2013                   HANDORFF LAW OFFICES, P.C.



                                             /s/Thomas F. Handorff
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                                          Attorneys for Plaintiffs Lowell P Burris and
                                          Joyce P Burris




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